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                          BEFORE THE UNITED STATES JUDICIAL PANEL
                               ON MULTIDISTRICT LITIGATION




 IN RE: AT&T, INC. CUSTOMER DATA
                                                                MDL Docket No. 3114
 SECURITY BREACH LITIGATION




                           NOTICE OF POTENTIAL TAG-ALONG ACTIONS


       In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation, defendant AT&T, Inc., hereby notifies the Clerk of the potential tag-along actions

pending in federal district court and listed on the attached Schedule of Action:

       Lovetro v. AT&T, Inc., No. 3:24-cv-00783 (N.D. Tex.)

       Williamson v. AT&T, Inc., No. 3:24-cv-00790 (N.D. Tex.)

       Rosario v. AT&T, Inc., No. 3:24-cv-00793 (N.D. Tex.)

       Aquino v. AT&T, Inc., No. 3:24-cv-00802 (N.D. Tex.)

       Casey v. AT&T, Inc., No. 3:24-cv-00803 (N.D. Tex.)

       Hearon v. AT&T, Inc., No. 3:24-cv-00818 (N.D. Tex.)

       Foley v. AT&T, Inc., No. 3:24-cv-00819 (N.D. Tex.)

       Mathews v. AT&T, Inc., No. 3:24-cv-00824 (N.D. Tex.)

       Doss v. AT&T, Inc., No. 4:24-cv-00234 (W.D. Mo.)

       Williams v. AT&T, Inc., No. 3:24-cv-00835 (N.D. Tex.)



       The docket sheets and complaints are attached as exhibits.
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Date: April 5, 2024                   Respectfully submitted,


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